Case 1:18-cv-00950-PTG-JFA Document 473-32 Filed 10/21/19 Page 1 of 4 PageID# 20647




                            Exhibit 29
Case 1:18-cv-00950-PTG-JFA
  Case  1:18-cv-00950-LO-JFA Document
                              Document473-32 Filed
                                       222 Filed   10/21/19Page
                                                 07/16/19   Page12
                                                                 ofof
                                                                    34 PageID#
                                                                      PageID#  20648
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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


 SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,

 v.
                                                            Case No. 1:18-cv-00950-LO-JFA
 COX COMMUNICATIONS, INC., et al.,

          Defendants.



                                        PLAINTIFFS’ WITNESS LIST

             Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, Plaintiffs hereby submit

      their list of witnesses for trial in the above-captioned matter.

             Plaintiffs reserve the right to call anyone appearing on Communications, Inc. and CoxCom,

      LLC’s (“Cox”) witness list and reserve the right to call additional witnesses in rebuttal to those

      witnesses called by Cox. Plaintiffs also reserve their right to offer additional testimony by

      deposition or trial transcript and to amend or supplement this list.

             A.         Witnesses Plaintiffs Expect to Present at Trial

                        1. Michael Abitbol

                        2. Audrey Ashby

                        3. Sam Bahun

                        4. Chris Bell

                        5. David Benjamin

                        6. Jeremy Blietz

                        7. Barbara Frederiksen-Cross

                        8. Matt Flott

                        9. Dong Jang
Case 1:18-cv-00950-PTG-JFA
  Case  1:18-cv-00950-LO-JFA Document
                              Document473-32 Filed
                                       222 Filed   10/21/19Page
                                                 07/16/19   Page23
                                                                 ofof
                                                                    34 PageID#
                                                                      PageID#  20649
                                                                              5662



               10. David Kokakis

               11. Paul Kahn

               12. Dennis Kooker

               13. Wade Leak

               14. Dr. William Lehr

               15. Dr. George McCabe

               16. Dr. Terrence McGarty

               17. Alasdair McMullan

               18. Steve Poltorak

               19. Andy Swan

               20. Brent Beck*

               21. Matt Carothers*

               22. Sanford Mencher*

               23. Sidd Negretti*

               24. Joseph Sikes*

               25. Jason Zabek*

         B.    Witnesses Plaintiffs May Call to Testify at Trial

               26. Neil Carfora

               27. William Basquin*

               28. Randall Cadenhead*

               29. Tom Foley

               30. Jorge Fuenzalida*

               31. Jason Gallien

               32. Jon Glass

               33. Vance Ikezoye*



                                               2
Case 1:18-cv-00950-PTG-JFA
  Case  1:18-cv-00950-LO-JFA Document
                              Document473-32 Filed
                                       222 Filed   10/21/19Page
                                                 07/16/19   Page34
                                                                 ofof
                                                                    34 PageID#
                                                                      PageID#  20650
                                                                              5663



                34. Paul Jarchow*

                35. Steve Marks

                36. Anish Patel

                37. Clint Summers*

                38. Brian Stifel*

                39. Linda Trickey*

                40. Roger Vredenburg*

                41. Jeff Walker

                42. Any witness listed on Cox’s witness list or Rule 26(a)(1) disclosures.


         *By live testimony, by deposition or both (deposition designations will be filed before trial)



   Dated July 16, 2019                                    Respectfully Submitted,

                                                          /s/ Scott A. Zebrak /
                                                          Scott A. Zebrak (38729)
                                                          Matthew J. Oppenheim (pro hac vice)
                                                          Jeffrey M. Gould (pro hac vice)
                                                          Kerry M. Mustico (pro hac vice)
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                                                          Attorneys for Plaintiffs




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